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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF GEOF qIy y I pH.H „ ,9
                                          BRUNSWICK DIVISION

                                                                                $0. DIST. OF GA.



              UNITED STATES OF AMERICA                   )

                                                                     CASE NO.: CR295-06
                           v.                            )

              RALPH JAMES MERCADO                        )



                          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                    Ralph Mercado ("Mercado"), who is currently incarcerated at the United States

              Penitentiary, Florence in Florence, Colorado, filed a petition for post-conviction relief

              pursuant to 28 U.S.C. §§ 1651 and 2241 and/or Rules 60(b) and 59(e). The

              Government filed a Response, and Mercado filed a Reply. For the reasons which

              follow, Mercado's Motion should be DISMISSED.

                                               STATEMENT OF THE CASE

                    Mercado pleaded guilty to one count of bank robbery, in violation of 18 U.S.C. §

              2113(d), and to one count of using a firearm during the commission of a crime of

              violence, in violation of 18 U.S.C. § 924(c). The Honorable Anthony A. Alaimo

              sentenced Mercado to 300 months' imprisonment on the bank robbery count and 60

              months' imprisonment on the firearms count, to be served consecutively, on June 23,

              1995. Mercado filed an appeal, and the Eleventh Circuit Court of Appeals affirmed

              Mercado's sentence in 1997. United States v. Mercado, 112 F.3d 1172 (11th Cir. 1997)

              (Table). Judge Alaimo adopted the Eleventh Circuit's judgment as the judgment of this


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              Court on May 15, 1997. (Doc. No. 101). On April 6, 1998, Mercado filed a motion for

              extension of time to file a motion pursuant to 28 U.S.C. § 2255. The undersigned

              denied Mercado's motion by Order dated April 8, 1998, and directed Mercado to file his

              section 2255 motion within the applicable time limits. (Doc. No. 104). Mercado did not

              file a motion to vacate, set aside, or correct his sentence pursuant to § 2255. However,

              Mercado did file two (2) motions to modify his sentence pursuant to 18 U.S.C. § 3582,

              and this Court denied both motions. (Doc. Nos. 181, 184, 189, and 191).

                     Mercado filed a Motion pursuant to Rule 60(b). In that Motion, Mercado

              contended that the probation officer who prepared his Pre-Sentence Investigation

              Report ("PSI") committed a fraud on the Court by providing misleading information in the

              PSI, particularly the prior convictions used to calculate Mercado's criminal history

              points. The undersigned recommended that Mercado's Motion be dismissed, and

              Judge Alaimo adopted this recommendation as the opinion of the Court. (Doc. Nos.

              199, 201). The Eleventh Circuit dismissed Mercado's appeal for want of prosecution

              due to Mercado's failure to pay the applicable filing fee.

                      In this Motion, Mercado contends that he was led to believe he would be

              sentenced to a total of 222 months' imprisonment rather than the 360-month sentence

              he received. Mercado asserts that the Assistant United States Attorney openly argued

              for an upward departure at his sentencing hearing, despite the existence of a plea

              agreement.' The Government asserts that Mercado's petition should be dismissed.




              1 The transcript from Mercado's sentencing hearing belies this contention. (Doc. No. 90, pp. 11-12).



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                                       DISCUSSION AND CITATION TO AUTHORITY

              28 U.S.C.2255

                    District courts have an obligation to look behind the label of a pro se inmate's

              motion to determine whether the motion is "cognizable under a different remedial

              statutory framework." United States v. Jordan, 915 F.2d 622, 624-25 (11th Cir. 1990).

              A petitioner seeking to challenge the legality of the imposition of his sentence should

              seek relief under 28 U.S.C. § 2255. Section 2255 of Title 28 of the United States Code

              provides:

                          A prisoner in custody under sentence of a court established by
                          Act of Congress claiming the right to be released upon the ground
                          that the sentence was imposed in violation of the Constitution or
                          laws of the United States, or that the court was without jurisdiction
                          to impose such sentence, or that the sentence was in excess of
                          the maximum authorized by law, or is otherwise subject to
                          collateral attack, may move the court which imposed the sentence
                          to vacate, set aside or correct the sentence.

              28 U.S.C. § 2255(a). Motions made pursuant to this section are subject to a statute of

              limitations period. This limitations period runs from the latest of:

                          (1) the date on which the judgment of conviction becomes final;

                          (2) the date on which the impediment to making a motion created
                          by governmental action in violation of the Constitution or laws of
                          the United States is removed, if the movant was prevented from
                          making a motion by such governmental action;

                          (3) the date on which the right asserted was initially recognized by
                          the Supreme Court, if that right has been newly recognized by the
                          Supreme Court and made retroactively applicable to cases on
                          collateral review; or

                          (4) the date on. which the facts supporting the claim or claims
                          presented could have been discovered through the exercise of
                          due diligence.

              28 U.S.C. § 2255(f).

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                      The Eleventh Circuit affirmed Mercado's convictions and sentences in 1997, and

              this Court adopted the Eleventh Circuit's judgment on May 15, 1997.2 Mercado had

              ninety (90) days to file a petition for writ of certiorari with the United States Supreme

              Court, which he did not do. Su p . CT. R. 13.1. Mercado's conviction became "final" on

              August 13, 1997, and he had one (1) year to file a timely § 2255 motion, or until August

              13, 1998. Mercado filed the instant motion on June 24, 2010, which is nearly 12 years

              after the applicable statute of limitations period expired.

              28 U.S.C. FA 2241

                      To the extent Mercado's petition can be construed as being brought pursuant to

              28 U.S.C. § 2241, his requested relief must be denied. Ordinarily, an action in which an

              individual seeks to collaterally attack his conviction should be filed under 28 U.S.C. §

              2255 in the district of conviction. 28 U.S.C. § 2255; Saw yer v. Holder, 326 F.3d 1363,

              1365 (11th Cir. 2003). However, in those instances where a section 2241 petition

              attacking custody resulting from a federally imposed sentence is filed, those § 2241

              petitions may be entertained where the petitioner establishes that the remedy provided

              under 28 U.S.C. § 2255 "is inadequate or ineffective to test the legality of his detention."

              Wofford v. Scott, 177 F.3d 1236, 1238 (11th Cir. 1999). Section 2255 provides:

                         An application for a writ of habeas corpus [pursuant to 28 U.S.C. §
                         2241] in behalf of a prisoner who is authorized to apply for relief by
                         motion pursuant to this section, shall not be entertained if it appears
                         that the applicant has failed to apply for relief, by motion, to the
                         court which sentenced him, or that such court has denied him relief,
                         unless it also appears that the remedy by motion is inadequate or
                         ineffective to test the legality of his detention.


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                The Court's docketing system does not provide a link to the Eleventh Circuit's decision, and thus, the
              undersigned was not able to determine on what date the Eleventh Circuit affirmed Mercado's convictions
              and sentences. Accordingly, the undersigned has used the date this Court adopted the Eleventh Circuit's
              judgment as the statute of limitations triggering event.

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              28 U.S.C. § 2255(e) (emphasis supplied). The petitioner bears the initial burden of

              presenting evidence that affirmatively shows the inadequacy or ineffectiveness of the §

              2255 remedy. Ramiro v. Vas p uez, 210 F. App'x 901, 904 (11th Cir. 2006).

                    To successfully use a § 2241 petition to circumvent the procedural restrictions of

              a § 2255 motion (e.g., timeliness issues), a petitioner must satisfy the savings clause of

              § 2255. The savings clause of § 2255:

                        applies to a claim when: 1) that claim is based upon a retroactively
                        applicable Supreme Court decision; 2) the holding of that Supreme
                        Court decision establishes the petitioner was convicted for a
                        nonexistent offense; and 3) circuit law squarely foreclosed such a
                        claim at the time it otherwise should have been raised in the
                        petitioner's trial, appeal, or first § 2255 motion.

              Wofford, 177 F.3d at 1244.

                     Mercado fails to present evidence that § 2255 is inadequate or ineffective, that

              his claims are based on a retroactively applicable Supreme Court decision, that he was

              convicted of a non-existent offense, or that he was foreclosed on a previous occasion

              from making the same allegations as he does in the instant petition. Mercado has not

              satisfied the requirements of § 2255's savings clause, and thus, cannot "open the portal"

              to argue the merits of his claim. See Wofford, 177 F.3d at 1244 & n.3; see also Dean v.

              McFadden, 133 F. App'x 640, 642 (11th Cir. 2005) (noting that all three requirements of

              the Wofford test must be satisfied before section 2255's savings clause is satisfied).

                     Mercado cannot circumvent the requirements for § 2255 motions by styling his

              petition for habeas corpus as being filed pursuant to § 2241. "[W]hen a federal

              prisoner's claims fall within the ambit of § 2255, the prisoner is subject to that section's

              restrictions." Medberry v. Crosby , 351 F.3d 1049, 1061 (11th Cir. 2003). Mercado is

              doing nothing more than "attempting to use § 2241. . . to escape the restrictions of §

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              2255." Wofford, 177 F.3d at 1245. Mercado's requested relief is not available pursuant

              to section 2241.

              Fed. R. Civ. P. 59(e) and 60(b)

                     In addition, Mercado is not entitled to relief pursuant to Federal Rules of Civil

              Procedure 59(e) and 60(b). The Federal Rules of Civil Procedure "govern the

              procedure in the United States district courts in all suits of a civil nature." FED. ft Civ. P.

              1. Rule 60(b)(3) provides that a court may relieve a party from a final judgment based

              on fraud, misrepresentation, or other misconduct of an adverse party. However, the

              Eleventh Circuit repeatedly has "held that Rule 60(b) does not provide for relief from a

              judgment in a criminal case." United States v. Whisb y , 323 F. App'x 781, 782 (11th Cir.

              2009) (quoting cases). Accordingly, Mercado is not entitled to relief pursuant to Rule

              60(b). Likewise, Mercado is not entitled to relief pursuant to Rule 59(e), as a motion

              made pursuant to that Rule must be made "no later than 28 days after the entry of the

              judgment[ ]" challenged. FED. R. Civ. P. 59(e). Even if Rule 59(e) could provide

              Mercado's requested relief, the present petition is untimely filed.

              28 U.S.C. 1651

                     Finally, Mercado is not entitled to his requested relief pursuant to 28 U.S.C. §

              1651, the All Writs Act. The All Writs Act grants federal courts the power to issue writs

              "necessary or appropriate in aid of their respective jurisdictions and agreeable to the

              usages and principles of law." 28 U.S.C. § 1651(a). However, "'[t]he All Writs Acts is a

              residual source of authority to issue writs that are not otherwise covered by statute.

              Where a statute specifically addresses the particular issue at hand, it is that authority,

              and not the All Writs Act, that is controlling." Morales v. Fla. De p't of Corr., 346 F.



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              App'x 539, 540 (11th Cir. 2009) (quoting Pa. Bureau of Corr. v. United States Marshals

              Serv., 474 U.S. 34, 43 (1985)). Although the Act "empowers federal courts to fashion

              extraordinary remedies when the need arises, it does not authorize them to issue ad

              hoc writs whenever compliance with statutory procedures appears inconvenient or less

              appropriate." Id. (internal citation omitted). "Accordingly, common law writs, such as

              coram nobis and audita querela, survive only to the extent that they fills gaps in the

              system of federal post-conviction remedies." jj (citing United States v. Halt, 417 F.3d

              1172, 1175 (11th Cir. 2005) (holding that the common law "writ of audita querala may

              not be granted when relief is cognizable under § 2255".). "Moreover, the Act does not

              create any substantive federal jurisdiction; 'rather, it empowers a federal court-in a case

              in which it is already exercising subject matter jurisdiction-to enter such orders as are

              necessary to aid it in the exercise of such jurisdiction." Id. (quoting In re Hill, 437 F.3d

              1080, 1083 (11th Cir. 2006)). Because Mercado is in custody pursuant to the judgment

              of a federal court, his request relief is cognizable under section 2255.

                                                       CONCLUSION

                     Based on the foregoing, it is my RECOMMENDATION that Mercado's petition

              (Doc. No. 213) be DISMISSED.

                     SO REPORTED and RECOMMENDED, this J day of May, 2011.




                                                            VIES E. GRAHAM
                                                            ITED STATES MAGISTRATE JUDGE




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